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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:13-CR-00227 GEB

12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                         v.                           [PROPOSED] FINDINGS AND ORDER

14   FRANCISCO PARRA ARRELLANEZ, et al.,

15                                Defendants.

16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendants

19 Francisco Parra Arrellanez, Jovany Romo Arrellanes, and Efrain Padilla Pena, by and through their

20 counsel of record, hereby stipulate as follows:

21          1.     By previous order, this matter was set for status on April 24, 2015.

22          2.     By this stipulation, defendant now moves to continue the status conference until May 29,

23 2015 and to exclude time between April 24, 2015 and May 29, 2015, under Local Code T4. The United

24 States does not oppose this request.

25          3.     The parties agree and stipulate, and request that the Court find the following:

26                 a)      The United States has represented that the discovery associated with this case

27 includes investigative reports and wiretap applications in electronic form constituting approximately

28 4000 pages of documents. The United States also represents that the discovery includes approximately

      Stipulation and Proposed Order re                 1
      Excludable Time
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 1 20 CDs of audio recordings, including intercepted communications, and transcripts and line reports. All

 2 of this discovery has been produced directly to counsel.

 3                  b)     Further, counsel for all of the defendants have requested that the United States

 4 prepare plea agreements for the consideration of their clients. The United States has presented offers to

 5 the defendants, who have all requested additional time to discuss the agreements with their clients and to

 6 consider the discovery provided as it relates to the provisions of the plea agreements. Additionally,

 7 counsel for defendants Francisco Parra Arrellanez and Jovany Romo Arrellanes are currently engaged in

 8 a multi-week trial in an unrelated case and needs additional time to review the evidence in relation to the

 9 proposed plea agreements.

10                  c)     Counsel for defendants believe that failure to grant the above-requested

11 continuance would deny them the reasonable time necessary for effective preparation, taking into

12 account the exercise of due diligence.

13                  d)     The United States does not object to the continuance.

14                  e)     Based on the above-stated findings, the ends of justice served by continuing the

15 case as requested outweigh the interest of the public and the defendants in a trial within the original date

16 prescribed by the Speedy Trial Act.

17                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

18 et seq., within which trial must commence, the time period of April 24, 2015 to May 29, 2015, inclusive,

19 is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results

20 from a continuance granted by the Court at defendant’s request on the basis of the Court's finding that

21 the ends of justice served by taking such action outweigh the best interest of the public and the

22 defendant in a speedy trial.

23          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

24 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

25 must commence.

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      Stipulation and Proposed Order re                   2
      Excludable Time
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 1         IT IS SO STIPULATED.

 2 Dated: April 22, 2015                          BENJAMIN B. WAGNER
                                                  United States Attorney
 3
                                                  /s/ Todd A. Pickles
 4                                                TODD A. PICKLES
                                                  Assistant United States Attorney
 5

 6 Dated: April 22, 2015                          /s/ Todd A. Pickles for
                                                  TIMOTHY WARRINER, ESQ.
 7
                                                  Counsel for Defendant Francisco Parra
 8                                                Arrellanez

 9
     Dated: April 22, 2015                        /s/ Todd A. Pickles for
10                                                DINA SANTOS, ESQ.

11                                                Counsel for Defendant Jovany Romo
                                                  Arrellanes
12

13 Dated: April 22, 2015                          /s/ Todd A. Pickles for
                                                  RICHARD DUDEK, ESQ.
14
                                                  Counsel for Defendant Efrain Padilla
15                                                Pena

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17

18                                         ORDER

19         IT IS SO FOUND AND ORDERED.

20 Dated: April 22, 2015

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      Stipulation and Proposed Order re       3
      Excludable Time
